                    IN THE UNITED STATES DISTRICT COURT FOR
                        THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division


 UNITED STATES OF AMERICA,                           Case No. 1:20-cr-00239-TSE

              v.                                     Honorable T. S. Ellis, III

 EL SHAFEE ELSHEIKH,                                 Sentencing Date: August 19, 2022
                            Defendant.
                                                                  UNDER SEAL

                       DEFENDANT’S POSITION ON SENTENCING
                           AND GUIDELINES OBJECTIONS

       El Shafee Elsheikh, by counsel, respectfully submits his objections to the Presentence

Report and his position with respect to sentencing. For his conviction in the instant offense, Mr.

Elsheikh will spend the rest of his life in federal custody. Indeed, the Court’s sentencing

discretion is limited by the multiple statutorily mandated life sentences required for Counts 1

through 5. See 18 U.S.C. § 1203. Though the Court has the discretion to impose up to life for

Counts 6 through 8. See 18 U.S.C. §§ 2332(b)(2), 2339A & 2339B.

       Put simply, there is nothing that this Court can do to bring the victims back or restore

their families’ losses. Instead, the only real choice this Court has left in sentencing Mr. Elsheikh

is whether to recommend that he be placed in a prison environment that is appropriate for him—

as the sentencing statutes require, see 18 U.S.C. §§ 3553(a) & 3621. Accordingly, given Mr.

Elsheikh’s exemplary history while incarcerated and demonstrated lack of security risk, the

defense respectfully asks this Court to recommend that the Bureau of Prisons (“BOP”) evaluate

Mr. Elsheikh for designation to a Communications Management Unit (“CMU”) or other

alternative placement short of condemning him to a life of solitary confinement at Florence

ADX.




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                                         DISCUSSION

   I.      Objections To The Presentence Report

        Before a sentencing Court can apply any given sentencing enhancement, the Court must

first find, under a preponderance standard, that evidence supports such an enhancement. See

United States v. Grubbs, 585 F.3d 793, 803 (4th Cir. 2009) (“[p]reponderance of the evidence is

the appropriate standard of proof for sentencing purposes”); United States v. Noe, 191 Fed.

Appx. 216 (4th Cir. 2006) (district court's use of preponderance of evidence standard in making

factual findings supporting sentencing enhancements was constitutional).

        Here, as made apparent below, the probation officer’s application of the Leadership Role

enhancement, under U.S.S.G. §3B1.1(a), the Obstruction of Justice enhancement, under U.S.S.G.

§3C1.1, and application of the Sexual Exploitation enhancement, under U.S.S.G. §2A4.1(b)(5),

is unsupported by the evidence.

        a. Leadership Role—U.S.S.G. §3B1.1(a)

        Mr. Elsheikh objects to the application of the “Role in the Offense” enhancement under

USSG §3B1.1(a) (leadership role) as it is applied to this case. PSR, ¶ 86, 98, 108, 117, 126. The

Sentencing Guidelines provide for a four-level increase “[if] the defendant was an organizer or

leader of a criminal activity that involved five or more participants or was otherwise

extensive[.]” U.S.S.G. §3B1.1(a). Application Note 2 to this guideline makes clear that “[t]o

qualify for an adjustment under this section, the defendant must have been the organizer, leader,

manager, or supervisor of one or more other participants.” U.S.S.G. § 3B1.1(c) (2000), comment.

(n.2); see United States v. Hodge, 295 F. App’x 597, 603 (4th Cir. 2008).

        In determining whether a defendant possessed a leadership or organizational role in a

given case, the sentencing commission indicated that a sentencing court should consider seven




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administration of justice with respect to the investigation, prosecution, or sentencing of the

instant offense of conviction[.]” U.S.S.G. §3C1.1. Application Note 4 to this guideline provides

a non-exhaustive list of conduct covered by the enhancement: committing perjury, producing a

false document during a judicial proceeding, providing materially false information to a judge, or

providing a materially false statement to a law enforcement officer that obstructed or impeded

the official investigation or prosecution. U.S.S.G. §3C1.1, cmt. N.4 (A-G). However, the

application notes also make clear that this enhancement

       “[I]s not intended to punish a defendant for the exercise of a constitutional right… in
       applying this provision in respect to alleged false testimony or statements by the defendant,
       the court should be cognizant that inaccurate testimony or statements sometimes may result
       from confusion, mistake, or faulty memory and, thus, not all inaccurate testimony or
       statements necessarily reflect a willful attempt to obstruct justice.”

Id. cmt 2.

       The Fourth Circuit has held that for a sentencing court to apply the obstruction of justice

enhancement based upon perjury, the district court must find by a preponderance of the evidence

that the defendant “(1) gave false testimony; (2) concerning a material matter; (3) with the

willful intent to deceive (rather than as a result of confusion, mistake, or faulty memory).”

United States v. Jones, 308 F.3d 425, 428 (4th Cir. 2002). Moreover, the “sentencing court also

must specifically identify the perjurious statements and make a finding either as to each element

of perjury or “ ‘that encompasses all of the factual predicates for a finding of perjury.’ ” Id. The

same analysis applies under application note 4(f)—providing materially false information to a

judge. See United States v. Savage, 885 F.3d 212, 225 (4th Cir. 2018) (citing the aforementioned

Jones factors under an U.S.S.G. §3C1.1 cmt. N.4(F) analysis).

       Alternatively, the production of a false document, under application note 4(c), “requires

that either in producing or attempting to produce fabricated documents in the course of an




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investigation, a defendant must consciously act with the purpose of obstructing justice.” United

States v. Thorson, 633 F.3d 312, 321 (4th Cir. 2011). Regardless of which application note the

Court chooses to apply, Mr. Elsheikh’s declaration and his attendant efforts to suppress his 2018

law enforcement interview and 2019 media statements did not amount to the obstruction of

justice.

           Here, the district court did not find that Mr. Elsheikh submitted a false or perjured

statements when he offered his declaration to support his motion to suppress. Instead, the district

court simply found that Mr. Elsheikh did not sustain his burden of proof regarding the claims he

raised in his declaration. Indeed, at the evidentiary hearing regarding Mr. Elsheikh’s motion to

suppress the district Court stated:

           “THE COURT…His declaration is not going to cut it because it has not been subject to
           cross-examination. You understand that Ms. Ginsberg? MS. GINSBERG: Your Honor, if
           he does not testify, the declaration is admitted for whatever purpose– --THE COURT:
           Exactly. MS. GINSBERG: -- whatever weight it has. THE COURT: Whatever weight it
           may have because it was not cross-examined.”

United States v. Elsheikh, Nov. 17, 2021, Evidentiary Hearing Transcript (Day 2, pp. 162-63).

           The district court further elaborated its reasoning in the memorandum opinion denying

Mr. Elsheikh’s motion to suppress:

           “Put simply, Defendant’s claims regarding the severity and frequency of abuse in SDF
           custody are not credible when weighed against other record evidence.” [FN 16] “It bears
           emphasizing that Defendant’s claims were presented in a self-serving declaration rather
           than on the witness stand at the evidentiary hearing, where they would have been subject
           to cross-examination.”

Dkt. 188, p. 16 (memorandum opinion). After reviewing the factual assertions made in Mr.

Elsheikh’s declaration and determining that the record adduced during the evidentiary hearing

did not support a finding by a preponderance of the evidence that Mr. Elsheikh’s statements

should be suppressed, the district court concluded by ruling that:



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       Though the district court concluded that                                                did

not rise to the level of proving that Mr. Elsheikh’s 2019 media interviews were coerced, and

                                             , they do lend support to Elsheikh’s claims and

further demonstrate that a sentencing court could not find by a preponderance of the evidence

that Mr. Elsheikh submitted a perjuries or false document to a tribunal. As such, the sentencing

enhancement under §3C1.1 should be removed.

       c. Sexual Exploitation—U.S.S.G. §2A4.1(b)(5)

       Mr. Elsheikh objects to the application of the “Specific Offense Characteristics”

enhancement under U.S.S.G. §2A4.1(b)(5) as it is applied to this case. PSR, ¶ 106. The

Sentencing Guidelines provide for a six-level increase “[if] the victim was sexually exploited[.]”

U.S.S.G. 2A4.1(b)(5). The basis for this enhancement is the capture or sale of female hostages

into slavery, including Kayla Mueller, who along with other female prisoners, were transferred

from an ISIS prison to the residence of Abu Sayyaf and his wife, Nisreen Assad Ibrahim Bahar

(a.k.a. “Umm Sayyaf”) and were “threatened, beaten, tortured, raped, starved, and shown violent

ISIS propaganda videos. Abu Bakr al-Baghdadi claimed Mueller as his slave and repeatedly

raped her whenever he was at the Sayyaf residence.” PSR, ¶ 49.




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          The enhancement is supported by ISIS publications located during the May 15, 2015,

military raid on the Sayyaf residence, Id. ¶ 49, FN 3, that justified the keeping of enslaved

people. Id. However, there is no evidence that Mr. Elsheikh participated in the sexual abuse of

any civilian hostage, nor is there any evidence that he assisted in holding hostages for that

purpose. Mr. Elsheikh’s refusal to disavow ISIS’s practice of enslaving women, based on his

interpretation of religious text, does not implicate him in the sexual crimes of other ISIS

members. Notably, during the trial, an FBI agent testified that there was no evidence linking Mr.

Elsheikh to the Sayyaf residence or that he was ever present within the home. There was no

evidence that Mr. Elsheikh authored, or was in any way linked to, the publications found within

the Sayyaf home. Moreover, in a government debriefing session,




          Though the fact of Kayla Mueller and the Yazidi women’s enslavement was a tragic

aspect of ISIS’s campaign of terror; there is no evidence to support a sexual abuse Specific

Offense Characteristics enhancement, much less by a preponderance, in Mr. Elsheikh’s case. As

such, the sentencing enhancement under §2A4.1(b)(5) should be removed.

    II.      A Sufficient Sentence Under 18 U.S.C. § 3553(a)

          In crafting an appropriate sentence, Congress has directed that federal courts “impose a

sentence sufficient, but not greater than necessary, to comply with the purposes” of sentencing

based on the statutory factors laid out in 18 U.S.C. § 3553(a). 3 Indeed, the United States



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  Those factors include: (a) the nature and circumstances of the offense and the history and
characteristics of the defendant, (b) the kinds of sentences available, (c) the guideline range, (d)
the need to avoid unwarranted sentencing disparities, (e) the need for restitution, and (f) the need
for the sentence to reflect the following: the seriousness of the offense, to promote respect for the
law and to provide just punishment for the offense, to afford adequate deterrence, to protect the


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Supreme Court has held that sentencing courts are required to “consider what sentence is

appropriate for the individual defendant in light of the [§ 3553(a)] sentencing factors.” Nelson v.

United States, 555 U.S. 350, 351 (2009) (emphasis added). As such, consistent with both

Congress’ and the Supreme Court’s direction, here a recommendation to the BOP to consider

placing Mr. Elsheikh in a CMU rather than Florence ADX is warranted in this case.

         Here, though this Court does not enjoy its’ normal discretion in determining the length of

Mr. Elsheikh’s sentence, given the multiple mandatory life sentences, the Court does have the

ability to make a recommendation to the BOP regarding Mr. Elsheikh’s placement within the

federal penal system. See, e.g., 18 U.S.C. § 3621(b)(4)(B) (BOP can designate any facility

determined to be “appropriate and suitable, considering,” inter alia, “any statement by the court

that imposed the sentence . . . recommending a type of penal or correctional facility as

appropriate”). Though any recommendation that this Court chooses to make is not binding, the

BOP is statutorily required to consider such a recommendation when making its ultimate

decision regarding Mr. Elsheikh’s placement. Id., § 3621(b)(4)(B) & (b)(5).

         The BOP’s stated goal is to “place each inmate in the most appropriate security level

institution that also meets their program needs and is consistent with the Bureau’s mission to

protect society,” U.S. Dep’t of Just., BOP Program Statement P5100.08 (2016), 4 in conjunction

with the relevant § 3553(a) factors. As applied to Mr. Elsheikh, it becomes clear that the

Florence ADX is inappropriate.




public from further crimes of the defendant and to provide the defendant with needed educational
or vocational training, medical care, or other correctional treatment. See 18 U.S.C. § 3553(a).
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    Available at: https://www.bop.gov/policy/progstat/5100_008.pdf



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         a. Mr. Elsheikh’s Personal History & The Offense Conduct

         Mr. Elsheikh, is currently 34 years old. He was born in Omdurman, Sudan as the second

son of                               and                   . When Mr. Elsheikh was approximately

3 years old, he and his family were forced to flee Sudan as the result of a military coup that

ousted the democratically elected government, replacing it with a totalitarian regime. The coup

d'état led to more than 78,000 people being “purged” from the army, police and civil

administration. 5

         As political refugees, the Elsheikhs and their extended family emigrated to Cairo, Egypt,

where they resided for the next four years. During his time, Mr. Elsheikh had a tough, but loving

childhood. Though his family was finically strained, he enjoyed the love and comfort of a large

extended family, all of whom took turns looking after each other. Indeed, Mr. Elsheikh’s aunts,

uncles and cousins played a huge role in his upbringing. In discussing his childhood with

counsel, Mr. Elsheikh stated that when he was a young child in Cairo, he was never alone. When

his parents were working, or otherwise engaged, he spent time with his aunts, whom he

described as being like second mothers. His young cousins were also a staple in his life and he

never lacked a playmate or was left to fend for himself.

         While in Egypt, Mr. Elsheikh’s father applied as an asylum seeker with the United

Nations, seeking to be relocated to a more permanent and stable country. In 1994, the United

Kingdom accepted the Elsheikhs’ U.N. asylum application, and Mr. Elsheikh, his parents, and

his brother relocated to London, England. Unfortunately, however, none of Mr. Elsheikh’s

extended family, with whom he had spent his entire life, emigrated with him. Mr. Elsheikh no


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  Human Rights Watch (August 1998). "Global Trade, Local Impact: Arms Transfers to all Sides
in the Civil War in Sudan. ||. The Civil War". World Report 1998: Sudan. 10 (4 (A)) (available
at: https://www.hrw.org/legacy/reports98/sudan/Sudarm988-03.htm#P310_36140)


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longer had his extended family network to rely upon, and his childhood took a turn. Roughly 6

years after immigrating to the United Kingdom, Mr. Elsheikh’s parents divorced, and he and his

siblings went to live with their mother. Unfortunately, given the nature of his father’s work, and

the family split, Mr. Elsheikh did not see much of his father going forward. His mother, who

now had to work full time to support Mr. Elsheikh and his two brothers, spent most of the time

out of the house, leaving the brothers to their own devices. 6

         It was during these formative years, as a young immigrant in an adopted country, that Mr.

Elsheikh learned to fend for himself and taught himself life skills. It was a jarring experience to

say the least. Mr. Elsheikh went from a large family network in Egypt to only himself and his

two siblings. In school, Mr. Elsheikh was a quick study, learning his new native language,

English, easily and was able to comprehend lessons from other subjects with relative ease.

Unfortunately, his ability to make and keep friends was stymied by the “rivalry” between his

local and school neighborhoods—each viewed the others’ inhabits with suspicion and prejudice.

Mr. Elsheikh was able to complete primary and secondary school without incident, after which

he enrolled in trade school—learning skills such as plumbing, bricklaying, and basic mechanical

work. To help support himself, Mr. Elsheikh did random “gig” work—odd one-off jobs.

         In 2009, Mr. Elsheikh started his personal study of religious Islamic texts. Up to and

until that point, Mr. Elsheikh did not have much to do with his family’s religion—Islam.

Though he and his family identified as Muslims, no one in the family was particularly devout

and Islam did not play a huge role in his or his family’s lives. The genesis of Mr. Elsheikh’s

religious interests started when he started seeing his contemporaries, those with troubled pasts,

leave the streets and ways of crime after finding a religious home for themselves. Inspired, Mr.



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    Mr. Elsheikh’s youngest brother was born after the family moved to the United Kingdom.


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Elsheikh determined what was missing from his life was a greater sense of purpose, meaning,

and community—something that a religious home promised.

       In 2010 and 2011, Mr. Elsheikh observed with horror the atrocities committed by Bashar

al-Assad and his regime against the Syrian people. Indeed, Mr. Elsheikh followed the events in

Syria almost as they were unfolding, however, he felt helpless and guilty—as he was living a

relatively comfortable life in a stable country in the West. When the regime started bombing its

own people, Mr. Elsheikh joined the efforts of his local Syrian aid organization—helping to

collect food, clothing, and medication. Eventually, in 2012, Mr. Elsheikh elected to leave the

United Kingdom and travel to Syria to fight against Assad and his regime.

       Upon his arrival in Syria, Mr. Elsheikh initially joined the Jabhat al-Nusra front and

participated in ground battles against Assad’s military forces. Eventually, given the changing

geo-political landscape within Syria and the various of factions fighting one another, Mr.

Elsheikh joined the Islamic State (“ISIS”) as a fighter. On January 4, 2018, Mr. Elsheikh and his

co-defendant, Mr. Kotey, were captured in Syria by the Syrian Democratic Forces (“SDF”) while

attempting to leave the country. Both Mr. Elsheikh and Mr. Kotey remained in SDF custody

until approximately October 2019, when they were transferred to U.S. custody in Iraq.

       Mr. Elsheikh was indicted on October 6, 2020 on one count of conspiracy to commit

hostage-taking resulting in death (in violation of 18 U.S.C. § 1203), four counts of hostage-

taking resulting in death (in violation of 18 U.S.C. §§ 1203 and 2), one count of conspiracy to

murder United States citizens outside of the country (in violation of 18 U.S.C. § 2332(b)(2)), one

count of conspiracy to provide material support to terrorists—hostage-taking/murder—resulting

in death (in violation of 18 U.S.C. § 2339A), and one count of conspiracy to provide material

support to a designated FTO resulting in death (in violation of 18 U.S.C. § 2339B). Dkt. 1. The




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next day, both Mr. Elsheikh and Mr. Kotey were transported from the U.S. military detention

center in Iraq to the Eastern District of Virginia. Mr. Elsheikh pled not guilty to all counts and

elected to proceed to trial. Dkt. 24.

       After presiding over a multi-day suppression hearing and the underlying multi-week jury

trial, the facts of this case are known all too well to this Court and need not be restated here.

Suffice it to say that the ISIS foreign hostage scheme, in which so many were killed and injured,

was a tragic and needless endeavor without justification. Mr. Elsheikh was convicted on all

counts on April 14, 2022. Dkt. 283.

       b. Mr. Elsheikh’s Time at the Alexandria ADC & Special Administrative Measures

       Since Mr. Elsheikh’s arrival in this country, he has been detained at the Alexandria

Detention Center (“ADC”) and kept under strict isolation—pursuant to the DOJ-imposed Special

Administrative Measures (“SAMs”). These SAMs require that Mr. Elsheikh be held under far

more stringent restrictions than almost all other inmates at the ADC. See Exhibit 1, Elsheikh

SAMs. Indeed, under these measures, Mr. Elsheikh may not have any outside contact except

with members of his legal defense team or immediate family. Apart from his lawyers, Mr.

Elsheikh is limited to a single recorded video call per month, lasting roughly 45-minutes, with

his immediate family. All of Mr. Elsheikh’s outgoing communications (letters) must be

approved by the United States Marshall Service before they are permitted to be sent. Mr.

Elsheikh is not permitted any contact with other inmates at any detention center and must be held

in isolation. These SAMs are solely administered by the DOJ and for the most part are immune

from judicial scrutiny.

       Indeed, Mr. Elsheikh is confined to a single-person cell 23 hours a day, with his single

hour spent outside his cell split between taking a shower and participating in limited “rec” time.




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Mr. Elsheikh’s “rec” time comprises of either walking in circles in the ADC’s gym or watching

limited TV programming—again, both activities must be done in isolation. The reading material

to which Mr. Elsheikh has access to is greatly curtailed by his inability to visit the ADC library

and is most times limited to a small selection of books brought around on a “reading cart”—

whose titles are normally randomly selected by the ADC staff.

       Despite these severe restrictions, Mr. Elsheikh has never committed a major disciplinary

violation within the ADC and has complied with the requirements of his SAMs. See Exhibit 2,

ADC Jail Adjustment Report.

       c. Judicial Recommendation to BOP Regarding Housing Designation

       As previously stated, though this Court has little discretion in the ultimate sentence that

Mr. Elsheikh receives—given the five mandatory life sentences on Counts 1 through 5—the

Court retains its discretion in providing a non-binding recommendation to the BOP regarding

Mr. Elsheikh’s housing location and conditions. See 18 U.S.C. § 3621 (b)(4)(B) (“The [BOP]

may designate any available penal or correctional facility…considering…any statement by the

court that imposed the sentence--recommending a type of penal or correctional facility as

appropriate[.]”). Given Mr. Elsheikh’s established history as a model inmate, a judicial

recommendation that asks the BOP to house Mr. Elsheikh in a facility other than Florence ADX,

to serve his life sentences, comports with the requirements of 18 U.S.C. § 3553(a) to “impose a

sentence sufficient, but not greater than necessary” to achieve the goals of sentencing.

       According to Jack Donson, a former BOP security classification officer and recognized

expert on matters regarding the BOP, Florence ADX is a federal penal institution in Fremont

County, Colorado which is referred to as:

       “a “super-max [prison],” [] only one of its kind in the federal system. Upon activation, it
       replaced the mission of the former Marion, Illinois Control Unit which was created after



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       the brutal murders of two BOP staff members by the Aryan Brotherhood in separate
       incidents on the same day in 1983. The super-max concept involves total isolation,
       which is the true meaning of “Solitary Confinement.” The purpose is to incapacitate,
       isolate, and eliminate contact between inmates while limiting the contact with staff.
       Inmates are locked in a small cell (approximately 75 Sq. Ft.) twenty-three hours a day
       aside from being shackled in handcuffs and leg irons to be moved to a caged-in shower
       area. The cell, desk, and mattress platform are made of concrete and food is delivered to
       the cell where inmates eat near an open toilet. Recreation is offered one hour daily based
       on the availability of staff and is conducted a small caged in area. All programming is
       done through a closed-circuit TV.”

Exhibit 3, pp. 4-5, ¶12, Donson Declaration.

       Absent a judicial recommendation to the contrary, “Mr. Elsheikh faces the likely

possibility of being designated to the Florence ADX based on his status as an international

terrorist in combination with the SAMs.” Ex. 3, p. 10, ¶25. 7 As stated below, this outcome is

both unwarranted and overly punitive—especially because no matter where Mr. Elsheikh is

housed, he will still be placed under very restrictive SAMs that all but guarantee a more severe,

and isolated, punishment.

       BOP’s practice of subjecting its inmates to the type of confinement practiced at Florence

ADX has come under increased scrutiny in recent years. Indeed, in “2012, eleven inmates filed a

federal class-action against the BOP in Cunningham v. Federal Bureau of Prisons. The suit

alleged chronic abuse and failure to accurately diagnose prisoners who were mentally ill. The

case included seven inmates who allegedly died by suicide while housed in the ADX.” Ex. 3, p.

6, ¶15; Id. ¶17 (“[i]n 2017, the DOJ-Inspector General issued a report entitled Review of the

Federal Bureau of Prison’s Use of Restrictive Housing of Inmate with Mental Illness. The results




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  Admittedly, even if the Court was to grant Mr. Elsheikh’s request for a judicial
recommendation to be housed at a facility other than Florence ADX, the BOP is not legally
required to follow judicial recommendations.


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of the review determined the BOP was not forthcoming about its practices of solitary

confinement and the detrimental impact isolation has on a person’s mental health.”).

       In fact, Florence ADX recently made headlines when in 2020, “a British Magistrate

refused to extradite Julian Assange to the United States in part because of the possibility he

would be subject to solitary confinement and special administrative measures.” Id. ¶18.

Eventually, the British high court allowed for Assange’s extradition, but only after it received

assurances that he would not be imprisoned at Florence ADX. See U.S. Says Assange Won’t

Face Supermax Prison If Extradited, Katharine Gemmell, BLOOMBERG (last visited 8.11.2022). 8

       As highlighted by Mr. Donson’s declaration to the Court, Ex. 3, Mr. Elsheikh is not the

type of individual that Florence ADX was intended to house:

    “In my professional opinion, there is simply no technical public policy mandate for Mr.
    Elsheikh to be housed in the Florence ADX because he has the security classification points
    commensurate with minimum security and his SAMS communication restrictions can be
    accomplished in a CMU.”

Ex. 3, p. 9, ¶22; Id., p. 4, ¶10 (“[Maximum custody] classification is for individuals who, by

their behavior, have been identified as assaultive, predacious, riotous, serious escape risks, or

seriously disruptive to the orderly running of an institution.”).

       Indeed, under the BOP’s own security assessment scoring system, Mr. Elsheikh’s score is

“commensurate with minimum security because he is void of the typical classification factors

that elevate a person’s classification such as a serious history of violence (Note: BOP policy

excludes scoring the instant offense as a history item) or escape and predatory prison behavior.”

Id. ¶11. Moreover, the BOP’s own policy statements would seem to exclude Mr. Elsheikh from

designation to ADX Florence, given his positive detention history: “USP Marion/ADX Florence



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  Available at: https://www.bloomberg.com/news/articles/2021-10-27/u-s-says-assange-won-t-
face-supermax-prison-if-extradited


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…units are designed for male inmates who have demonstrated an inability to function in a less

restrictive environment[s.]” BOP, Program Statement 5100.08 (Inmate Security Designation and

Custody Classification), at 92. 9 However, given the nature of the current offense, the BOP is

nevertheless likely to designate Mr. Elsheikh to Florence ADX. Ex. 3, p. 10, ¶25.

         At present, Mr. Elsheikh is already showing signs that his intense isolation is having a

negative impact on his physical and mental well-being:

         “The pre-sentence report indicates that Mr. Elsheikh has already expressed that his
         isolation has been “challenging mentally” so it is unknown how his mental health would
         deteriorate further given prolonged isolation. A concern I have from the pre-sentence
         investigation is regarding his hospitalization during pre-trial detention which included
         heart palpitations. It would be a sound correctional practice from a treatment perspective
         to have the BOP provide a mental health evaluation prior to a designation to the Florence
         ADX…”

Ex. 3, p. 6, ¶16.

         Clearly, sending Mr. Elsheikh, an individual who is already showing signs of mental and

physical deterioration from his present and past detention to Florence ADX is not an appropriate

sentence. This point is clearer when considering BOP’s own policy on classification that states

“Inmates currently diagnosed as suffering from serious psychiatric illnesses should not be

referred for placement at either USP Marion or ADX Florence.” Id., p. 7, ¶16.

          A reasonable alternative exists for those inmates that must be designated to a secure

facility that would comply with the requirements of the SAMs. Indeed, the BOP operates two

facilities specifically designed for inmates whose activities or offenses trigger a need for tightly

monitored communications with the outside world: the communications management units

(CMUs) at USP Marion, Illinois, and USP Terre Haute, Indiana. The stated purpose of the

CMUs “is to provide an inmate housing unit environment that enables [BOP] staff to more



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    Available at: https://www.bop.gov/policy/progstat/5100 008.pdf


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effectively monitor communication between inmates in CMUs and persons in the community.”

See BOP, Program Statement 5214.02 (Communications Management Units), at 1; 10 Ex. 3, p. 7,

¶21 (“[u]nlike the Florence ADX, CMUs allow programming and some human interaction in an

administrative (high security) environment. It does not involve the isolation issues of solitary

confinement that negatively impact a person’s mental health and sanity. It can accomplish the

goals for SAMs in an environment that is more commensurate with Mr. Elsheikh’s security

needs.”) (emphasis added).

         Given Mr. Elsheikh’s exemplary history while incarcerated and the lack of any objective

criteria that would warrant his designation to Florence ADX, the defense requests that this Court

make a recommendation to the BOP that is in line with the proffered recommendation set

forward below:

         “The court recommends initial designation to a facility other than the Florence ADX.
         The court’s recommendation is based on the determination that other placement options
         can provide programming and limited interaction in a setting that can meet Mr.
         Elsheikh’s security needs and still provide for communications monitoring. Total
         isolation is unnecessary considering the characteristics of the defendant when weighed
         against the needs of the government. In addition, it is also recommended the BOP
         formulate a communications plan with the Department of the Treasury to alleviate some
         of the logistical concerns on the receipt and transfer of funds to his trust fund account. If
         the BOP is unable to comply with this placement recommendation, the court requests a
         written justification regarding the non-compliance.”

Ex. 3, p. 11, ¶26.

         A judicial recommendation of this sort would be keeping in line with the dictates of 18

U.S.C. § 3553(a) to “impose a sentence sufficient, but not greater than necessary,” and ensure

that Mr. Elsheikh’s BOP housing designation is not overly punitive.




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     Available at: https://www.bop.gov/policy/progstat/5214 002.pdf


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                                        CONCLUSION

         Mr. Elsheikh respectfully requests that the PSR be amended in conformity with the

corrections and objections detailed above. Moreover, Mr. Elsheikh requests that this Court

provide a recommendation to the BOP in conformity with the housing designation proffered

above.

                                             Respectfully Submitted,

                                             EL SHAFEE ELSHEIKH,
                                             By Counsel
                                             _______/s/_____________________
                                             Nina J. Ginsberg, VSB # 19472
                                             Zachary A. Deubler, VSB # 90669
                                             DIMUROGINSBERG, P.C.
                                             1101 King Street, Suite 610
                                             Alexandria, VA 22314
                                             (703) 684-4333 (T)
                                             nginsberg@dimuro.com
                                             zdeubler@dimuro.com

                                             ________/s/_____________________
                                             Edward B. MacMahon, Jr., VSB # 25432
                                             LAW OFFICES OF EDWARD B. MACMAHON, JR.
                                             P.O. Box 25
                                             107 East Washington Street
                                             Middleburg, VA 20188
                                             (540) 687-3902 (T)
                                             ebmjr@macmahon-law.com

                                             ________/s/_____________________
                                             Yancey Ellis, VSB #70970
                                             CARMICHAEL ELLIS & BROCK, PLLC
                                             108 N. Alfred Street, 1st FL
                                             Alexandria, Virginia 22314
                                             (703) 684-7908 (T)
                                             yancey@carmichaellegal.com




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                                 CERTIFICATE OF SERVICE

I hereby certify that on this 12th day of August 2022, I filed the foregoing pleading through the
ECF system, which shall then send an electronic copy of this pleading to all parties in this action.


                                                     ____/s/________________
                                                     Zachary A. Deubler, Esq.




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